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                      EXHIBIT 25
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                                                                    Page 1

1                       IN THE UNITED STATES DISTRICT COURT
2                            NORTHERN DISTRICT OF OHIO
3                                EASTERN DIVISION
4
                                ~~~~~~~~~~~~~~~~~~~~
5
6              IN RE: NATIONAL PRESCRIPTION                MDL No. 2804
               OPIATE LITIGATION
7                                                          Master Docket No.
                                                           17-MD-2804
8
               This document relates to:                   Judge Dan Aaron
 9                                                         Polster
10             Jennifer Artz v. Endo Health
               Solutions, Inc., et al.
11             Case No. 1:19-op-45459
12             Darren and Elena Flanagan
               v. McKesson Corporation, et al.
13             Case No. 1:18-op-45405
14             Michelle Frost, et al. vs.
               Endo Health Solutions, Inc., et al.
15             Case No. 1:18-op-46327
16             Walter and Virginia Salmons, et al.
               vs. McKesson Corporation, et al.
17             Case No. 1:18-op-45268
18                           ~~~~~~~~~~~~~~~~~~~~
19                         Videotaped deposition of
                                 ASHLEY POE
20
21                               September 1, 2020
                                     10:03 a.m.
22
                                     Taken at:
23                                   Dann Law
                               875 North High Street
24                                Columbus, Ohio
25
                           Renee L. Pellegrino, RPR, CLR

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1        Poe?
2                  A.    Yes, he is.
3                  Q.    And what is Mr. Poe's date of birth?
4                  A.                  .
5                  Q.    And what is his address?
6                  A.    I'm not aware of his current
7        address by heart.
8                  Q.    Do you know what state he lives in?
9                  A.    Yes, ma'am.          He lives in
10       Washington.
11                 Q.    Do you and Mr. Poe have a formal
12       custody agreement relating to                         ?
13                 A.    We do not.
14                 Q.    Do you have an informal agreement?
15                 A.    We do.
16                 Q.    And what is that?
17                 A.    I retain full custody of                      .
18                 Q.    Does Mr. Poe see                  ?
19                 A.    No, he does not.
20                 Q.    When was the last time Mr. Poe saw
21                 ?
22                 A.    2017, when I left Washington.
23                 Q.    Does Mr. Poe communicate with
24                 ?
25                 A.    No, he does not.

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1        destroy or throw out that journal.                  If you could
2        just hang on to it and keep it in a safe place.
3                  A.    Okay.
4                  Q.    Do you keep a journal about your
5        drug use?
6                  A.    I do not.
7                  Q.    I guess I should have said did you
8        keep a journal about your drug use.
9                  A.    No.
10                 Q.    How did you become involved in this
11       litigation?      And I don't want to know any
12       conversations that you've had with any of your
13       lawyers.
14                 A.    I was contacted after being
15       involved with another class action case through
16       New York, and then my lawyer contacted me
17       asking me if I would like to represent this
18       case.
19                 Q.    What was the subject -- I'm sorry.
20       Strike that.
21                       Were you a party to the other class
22       action that you just referenced?
23                 A.    Yes.
24                 Q.    And what was the subject of that
25       other class action lawsuit?

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1                  A.    It was against opioid companies.
2                  Q.    Do you recall what court that was
3        in?
4                  A.    I know it was in New York.
5                  Q.    Is that other class action lawsuit
6        still ongoing?
7                  A.    I'm not sure.
8                  Q.    Are you still involved in it?
9                  A.    I believe so.
10                       MR. DANN:          Lauren, do you have a
11       long way to go here?
12                       MS. O'DONNELL:              I don't, but I'm
13       not sure if others are going to have questions.
14       So if you want to take a quick break.                     I can
15       look over my notes.            I mean, I literally have
16       half a page left, but would also like to look
17       everything over first.               So if you want to take
18       a break and I can finish my questions and then
19       everybody else will be ready to ask whatever
20       they may want.
21                       MR. DANN:          Great.
22                       Is five minutes enough time or do
23       you need a little more?
24                       MS. O'DONNELL:              I'm sorry?
25                       THE WITNESS:            He wants to know if

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1        five minutes is enough or if you need a little
2        more.
3                          MS. O'DONNELL:              We might need a
4        little bit more than five.
5                          MR. DANN:          Okay.          Why don't we
6        do -- I'm supposed to do a call at 2 o'clock.
7        Can we start at like 2:05?                    Or -- I have to
8        take a quick break at 2 o'clock.                        It's up to
9        you, Lauren.        I don't want to impose on
10       everybody.        Let me see if I can move that call.
11       Let's come back in 15 minutes.
12                         MS. O'DONNELL:              Okay.
13                         THE VIDEOGRAPHER:                  Off the record.
14       The time is 1:41.
15                                 (Recess had.)
16                         THE VIDEOGRAPHER:                  We're on the
17       record.        The time is 2:05.
18       BY MS. O'DONNELL:
19                 Q.      Good afternoon, Ms. Poe.                  Are you
20       okay to continue?
21                 A.      Yes.
22                 Q.      You had mentioned a class action in
23       New York.        What's the name of your attorney in
24       this case?
25                 A.      So I would like to clarify

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1        something, actually.             All of this is connected.
2        I saw an ad for the class action in New York
3        and I filled that out, and -- with them, they
4        got me in contact with the people that got me
5        to be the representative of this case.                     So it's
6        all in one.
7                  Q.    Understood.
8                        Do you have any knowledge about the
9        distributors of the opioids that you used in
10       your past?
11                 A.    I have personal experience,
12       knowledge of the distributors, meaning back in
13       2009, 2010 a lot of people in my neighborhood
14       were going down to Florida to get prescription
15       narcotics, large quantities of prescription
16       narcotics from doctors.               They would pay cash to
17       get these medicines.             They would go to the back
18       of a semi truck to get an MRI done.                    They would
19       write them prescriptions for 240 perc 30s, 240
20       OxyContin.      Then they would turn around and, on
21       the way back to Ohio, they would stop in West
22       Virginia, Virginia, Georgia, at Walgreens,
23       Rite-Aid, Giant Eagle, and get those filled out
24       of state, and then they would bring those back.
25       And I know that there isn't a neighbor or a

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1        classes of medication, and opioids were a
2        controlled substance.
3                  Q.    Do you recall learning whether
4        opioids are addictive?
5                  A.    Yes, I do remember.
6                  Q.    That was something that you were
7        taught?
8                  A.    Yes.
9                  Q.    What relief are you seeking by
10       filing this lawsuit?
11                 A.    I am seeking information and
12       answers on just what exactly is going on with
13       my son and what caused it.
14                 Q.    Are you claiming that any of the
15       Defendants in this case are responsible for
16       paying                 past medical expenses?
17                 A.    No.
18                 Q.    Are you claiming that the Defendants
19       in this case are responsible for paying any
20       other expenses that you believe you've incurred
21       as a result of                     neonatal abstinence
22       syndrome?
23                 A.    No.
24                 Q.    When               was born, did any
25       healthcare providers tell you that                           had

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